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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re:

TRIBUNE COMPANY, et al,

Debtors.

Chapter 11

Case No. 08-13141 (KJC)

Jointly Administered

Objection Date: December 1, 2011 at 4:00 p.m.

Hearing Date: Only if Objections are filed

NOTICE OF FEE APPLICATION

David M. Klauder, Esquire
Office of the United States Trustee
J. Caleb Boggs Federal Building

844 King Street, Suite 2207, Lockbox 35

Wilmington, DE 19801
(U.S. Trustee)

Kenneth P. Kansa, Esquire
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(Counsel to Debtors)

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(Counsel to Administrative Agent for
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(Counsel to Creditors’ Committee)

John F, Theil, Esquire
Senior Legal Auditor
Stuart Maue

3840 McKelvey Rd.
St. Louis, MO 63044
(Fee Auditor)

PLEASE TAKE NOTICE that, on November 11, 2011, the Monthly Fee Application of
Davis Wright Tremaine LLP as Special Counsel to Debtors for Domestic Legal Matters, for
Allowance of Compensation and Reimbursement of Expenses for the Period June 1, 2011
through June 30, 2011 (the “Application”), which seeks approval of a monthly fee application
for professional services rendered to the Debtors in the amount of $1 18,127.25, together with
reimbursement of disbursements in the amount of $2,273.29, was filed with the Court.

You are required to file a response, if any, to the Application on or before December 1,

2011 at 4:00 p.m. (Eastern Time).

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At the same time, you must also serve a copy of the response upon Applicant and
Debtors’ counsel so that it is received by 4:00 p.m. on December 1, 2011:

Norman L. Pernick, Esquire Kenneth P. Kansa, Esquire Kelli L. Sager, Esquire

J. Kate Stickles, Esquire Jillian K. Ludwig, Esquire DAVIS WRIGHT TREMAINE LLP
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500 Delaware Avenue, Suite 1410 Chicago, IL 60603

Wilmington, DE 19801 kkansa@sidley.corm

npernick(@coleschotz.com

A HEARING ON THE APPLICATION WILL BE HELD, ONLY IF AN OBJECTION
IS TIMELY FILED, OR THE COURT DIRECTS OTHERWISE, AT A DATE AND TIME TO
BE SCHEDULED BEFORE THE HONORABLE KEVIN J. CAREY, U.S. BANKRUPTCY
JUDGE, U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH
MARKET STREET, 5'"' FLOOR, WILMINGTON, DELAWARE 19801.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED BY THE APPLICATION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: November 11, 2011 SIDLEY AUSTIN LLP
James F. Conlan
Bryan Krakauer
One South Dearborn Street
Chicago, IL 60603
Telephone: (312) 853-7000

-and-
COLE, SCHOTZ, MEISEL,
FORMAN & LEONARD, P.A.

By: /s/ J. Kate Stickles
Norman L. Pernick (No. 2290)
J. Kate Stickles (No. 2917)
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ATTORNEYS FOR THE DEBTORS
AND DEBTORS IN POSSESSION

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